


  DECISION
 

  PER CURIAM:
 

  1 Frank Lamm appeals the district court's order entered on September 27, 2010. This matter is before the court on a sua sponte motion for summary disposition. We dismiss the appeal for lack of jurisdiction.
 

  12 Rule 4 of the Utah Rules of Appellate Procedure requires that a notice of appeal must be filed within thirty days of the entry of the final order or judgment appealed. See Utah R.App. P. 4(a). If a notice of appeal is not timely filed, this court lacks jurisdiction to consider the appeal. See Serrato v. Utah Transit Auth., 2000 UT App 299, ¶ 7, 13 P.3d 616. If this court lacks jurisdiction over an appeal, we are required to dismiss the appeal. See Varian-Eimac, Inc. v. Lomoreaux, 767 P.2d 569, 570 (Utah Ct.App.1989).
 

  13 On September 27, 2010, the district court entered the final judgment of condemnation which constituted the final, appealable order in the underlying matter. On October 28, 2010, Lamm filed his notice of appeal in the district court. The notice of appeal was not filed within thirty days of the entry of the final order appealed. Because the notice of appeal was not timely filed, this court lacks jurisdiction to consider the appeal. See Serrato, 2000 UT App 299, ¶ 7, 13 P.3d 616. Thus, we are required to dismiss the appeal for lack of jurisdiction. See Varian-Eimac, Inc., 767 P.2d at 570.
 

  [ 4 Accordingly, the appeal is dismissed.
 
